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10 Brandon Vera, and Kyle Kingsbury

11
                                UNITED STATES DISTRICT COURT
12
                                     DISTRICT OF NEVADA
13
   Cung Le, Nathan Quarry, Jon Fitch, Brandon        Case No.: 2:15-cv-01045 RFB-(PAL)
14 Vera, Luis Javier Vazquez, and Kyle
   Kingsbury on behalf of themselves and all         [PROPOSED] ORDER GRANTING
15 others similarly situated,                        PLAINTIFFS’ MOTION TO SEAL
16                Plaintiffs,
17         vs.
18 Zuffa, LLC, d/b/a Ultimate Fighting
   Championship and UFC,
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                 Defendant.
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                                         [PROPOSED] ORDER
     Case 2:15-cv-01045-RFB-BNW Document 559-1 Filed 06/18/18 Page 2 of 2




 1         Pending before this Court is Plaintiffs’ Motion for Leave to Lodge Materials Under Seal re

 2 Plaintiffs’ Opposition to Defendant Zuffa, LLC’s Motion to Seal Portions of Plaintiffs’ Reply in

 3 Support of Motion for Class Certification. Having considered the papers submitted, the Court

 4 hereby ORDERS:

 5         Plaintiffs’ motion is GRANTED.

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 7                         IT IS SO ORDERED:

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                                                         United States Magistrate Judge
 9
                                                         Dated: _________________________
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                                            [PROPOSED] ORDER
